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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                               Case No. 24-24228-CIV-ALTONAGA

  MEGAN PETE, an individual

          Plaintiff,

  v.

  MILAGRO ELIZABETH COOPER, an individual,

          Defendant.
                                         /

            DEFENDANT’S REPLY MEMORANDUM IN RESPONSE TO
   PLAINTIFF’S RESPONSE TO DEFENDANT’S MOTION TO DISMISS PLAINTIFF’S
                       FIRST AMENDED COMPLAINT

          Defendant, MILAGRO ELIZABETH COOPER, through undersigned counsel, hereby
  files her Reply Memorandum in Response to [DE 33] Plaintiff’s Response to Defendant’s Motion
  to Dismiss First Amended Complaint (“FAC”) and states the following:
  REBUTTAL OF MATTERS RAISED IN PLAINTIFF’S RESPONSE
       A. Defamation
          1. Application of Fla. Stat. § 770.01
          Plaintiff’s argument that Fla. Stat. § 770.01 does not apply to the Defendant is buttressed
  on the obsolete mindset that it applies only to legacy media such as radio, television, and
  newspapers. However, as noted recently by the recent presidential election results, bloggers and
  livestreamers are now part of the media where many members of the public get their information
  and entertainment. Defendant, as alleged in the FAC, is a blogger with over 100,000 followers
  who reports on various pop culture items; not just the Plaintiff. As such, as noted by the authorities
  cited by Defendant, she is entitled to pre-suit notice under section 770.01. Comins v. Canvoorhis,
  135 So.2d 545, 559 (5th DCA 2014); Grlpwr, LLC v. Rodriguez, No. 3:23CV16480-TKW-HTC,
  2023 WL 5666203, at *2 (N.D. Fla. Aug. 25, 2023); See also Tobinick v. Novella, 2015 WL 1191267,
  at *9 (S.D. Fla. Mar. 16, 2015). Plaintiff suggests that because she alleges that the Defendant is on
  the payroll of Mr. Peterson (which is not true), this somehow disqualifies her from having to receive
  presuit notice under the statute. This argument is without merit. All media companies, even legacy
  media receive monies through advertising especially trade publications. Taking the Plaintiff’s
  argument to its ultimate conclusion, then by virtue of receiving such monies, they would no longer be
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  subject to the statute as well. Notably, this incongruous conclusion is not supported by the plain
  language of the statute. Plaintiff’s noncompliance therefore requires dismissal. Comins v. Canvoorhis,
  135 So.2d 545, 559 (5th DCA 2014).
          2. Defendant’s comments about Plaintiff’s Credibility at Trial is Pure Opinion and
             Protected under the First Amendment

          Plaintiff takes the position that if someone does not parrot her preferred narrative, this
  constitutes defamation. In fact, Plaintiff takes this even further by suggesting that even statements
  made by the Defendant criticizing the police regarding the gun, bullet fragments, and DNA
  somehow is defamatory to her. This is not defamation nor actionable under Florida law. Plaintiff
  also makes the specious argument that criticizing the credibility of a witness at trial, especially one
  that is a public figure, is tantamount to defamation. Plaintiff’s argument is flawed because again it
  presumes that simply because the jury convicted Mr. Peterson, Plaintiff’s trial testimony is
  therefore incontestable.1 Further, Plaintiff again misstates the facts in that Defendant has
  repeatedly criticized the credibility of the trial witnesses (plural) in the criminal trial, which is
  sensible given that one of the key witnesses, Ms. Harris, plead the fifth amendment and was given
  immunity and given testimony that Plaintiff and Ms. Harris were both intoxicated and could not
  remember certain facts, and given that Plaintiff admitted after the incident that she didn’t tell police
  she had been shot, saying instead that she stepped on broken glass. It was only four days later, in
  an interview with Detective Stogner, that Plaintiff claimed to have been shot. Further, Plaintiff
  admitting to lying on national television about her relationship with Mr. Lanez. These are some of
  the items in the Defendant’s statements that form the basis of her opinion. Once again, the
  Plaintiff’s trial testimony cannot be proven to be true or false. It was up to the jury to believe her
  or disbelieve her along with the testimony of other witnesses. Thus, suggesting Plaintiff was not a
  credible witness or that she was a liar does not ipso facto constitute an accusation of perjury or
  defamation per se.
          3. Calling an individual “slow” or “retarded” does not rise to the level of actionable
             defamation against a public individual

          Plaintiff’s suggestion that Defendant asking an evaluating question about the Plaintiff’s
  mental status somehow rises to the level of defamation is nonsensical. Again, looking at the full


  1 It is noteworthy that the Eleventh Circuit Pattern Jury Instruction 5 on Credibility begins with

  “When I say you must consider all the evidence, I don’t mean that you must accept all the evidence
  as true or accurate.”
                                                  2
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  context of the quote and the livestreamed video rather than the edited portions, clearly the
  Defendant noted that these were questions that should be asked of the Plaintiff:
           it okay Megan said that he pointed a gun at her with intent to harm her and that she
           was afraid for her life how if Sean Kelly and if Jaquan Smith saw what they saw
           and that deserves another trial oﬀ that alone and I'm gonna tell you something else
           that motherfucking 9-1-1 call needs to be unsealed immediately because Sean Kelly
           called the police for an altercation that took place before shots were fired I
           guarantee that we will hear everything play out on that phone call he was right on
           the balcony right above their heads very fucking close furthermore babe what is
           Megan's mental status does she have a guardian or not it has she been listed as a
           capable person has she ever been deemed like legally retarded anything of the
           nature anything of the sort those are good questions Megan a stallion has a mugshot
           from a situation with an ex-boyfriend where she was arrested for domestic violence
           was she ever supposed to be in possession of a weapon could that be a reason why
           we don't want to claim this gun that's the same color as a lot of shit that you wear
           little miss olive green I've questions that need motherfucking answers…

  [A-12, p. 61, ll. 2-19].2 Contrary to Plaintiff’s contention that this Court should disregard the entire
  posts and look only at the four corners of the FAC, it is axiomatic that when the video and posts
  are linked in the pleading and “the information at issue is part of what was shared in the videos
  and postings. As a result, the information is in the pleadings.” See Garin v. Menegazzo, WL
  1658831, at *6 (S.D. Fla. May 25, 2022) (holding that when a video is referenced in a complaint
  and subsequent motions reference the video, information gathered from the video is part of the
  complaint and will not be struck). Given the context of the statement, it is clearly not a statement
  of fact and further requires serious overreach to suggest that this statement is “reasonably
  understood” to suggest Plaintiff is “mentally incapacitated.”3
           4. Plaintiff Intentionally Misstates Defendant’s Statement in paragraphs 69-71
           Plaintiff’s reluctance to refer to the full statements and context of Defendant’s posts and
  suggestion that the full posts should be ignored in this matter is reminiscent of the Wizard of Oz
  telling everyone to ignore the man behind the curtain. Plaintiff suggests that the statements in
  Defendant’s October 29, 2024 livestream4 refers to her when in fact they refer to a California based
  reporter, “the cockeyed lady,” who happens to have the same first name as Plaintiff (though


  2
      The full livestream can be found at https://www.youtube.com/watch?v=nlS7rbYaqpY
  3 In her opposition papers, the Plaintiff suggests at page 8 that unsworn declarations are not to be

  given credence. Perhaps she fails to understand that an Unsworn Declaration under 28 U.S.C.
  §1746 is no different than a sworn affidavit.
  4 The full livestream can be found at

  https://www.instagram.com/reel/DBuBDzfxtUqzNopPD1VQa2UyygB_TTfqJbVgN80/
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  different spelling) who has been and continues to cover Plaintiff’s case in the media. This is clear
  from the full quote and the context of the October 29, 2024 statement. In context, the statement
  which is a response to Plaintiff’s counsel’s document preservation letter reads in part as follows:
         Let me explain something to you. Alex Spiro didn’t have nothing to do with that
         trial. Why are you sitting up here telling us where a gun is supposed to be, you ain’t
         even making no sense, sir. And guess what, since you said it is available either way
         you spin it, it’s a problem. If it’s missing, that’s a problem. And if it’s not missing,
         why has his side they saw side been under the impression that it cannot be retested
         and that it’s not available for testing. So what? What’s going on here? Those are
         the questions that you have to ask. So, um, I feel like they’re trying to control the
         narrative. I feel like this is a scare tactic. I feel like they do. They don’t want you
         discussing these things, and I firmly believe that they didn’t think it would get this
         far. We wouldn’t even be having this conversation had they rejected everything.
         And then you get on social media and the cockeyed lady that says she’s seen Megan,
         she’s online telling you he has no chance. Everything’s gonna get rejected. How
         the hell you know, it baffles me how people beat jail time and want to come up and
         act like they own a damn high horse you ought to be somewhere for your alleged
         crimes. Drunky. Why do you even speak --- like does your liver even function? Well,
         you have so many different things going on with you. I don’t get it, but whatever.
         So Cha, it’s a whole bunch of he say, She say, I think that they’re upset. They said
         that all of this is coming out because Megan’s documentary is coming out, baby,
         the universe did this. [emphasis added].

  [A6, pp. 2-3, ll. 38-40: 1-18]. As noted by the authorities cited by Defendant at pages 9 and 10 of
  her motion to dismiss, the above statement is not defamatory, it is pure opinion, hyperbole, or at
  worst name calling and moreover, does not even refer to the Plaintiff. This is not actionable
  defamation against a public figure.
         5. Plaintiff’s FAC Fails to Plausibly Establish Malice
         In her papers, the Plaintiff suggests that for purposes of a motion to dismiss, malice needs
  only to be generally plead. Plaintiff is wrong. First, Plaintiff again misstates the test for malice by
  citing the negligence standard for a private individual rather than the higher clear and convincing
  standard for a public figure, and secondly, her suggestion that conclusory statements are sufficient
  will not carry the day. As noted by the Eleventh Circuit:
         This Court held previously that the Twombly/Iqbal “plausibility pleading standard
         applies to the actual malice standard in defamation proceedings.” … Thus, to plead
         actual malice, [the plaintiff] “must allege facts sufficient to give rise to a reasonable
         inference that the false statement was made ‘with knowledge that it was false or
         with reckless disregard of whether it was false or not.’” Id. … This is a subjective
         test, focusing on whether the defendant “actually entertained serious doubts as to


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          the veracity of the published account, or was highly aware that the account was
          probably false.” [citations omitted].

  Turner v. Wells, 879 F.3d 1254, 1273 (11th Cir. 2018)(holding that conclusory allegations of malice
  do not plausibly state a cause of action for defamation against a public figure and affirming
  granting of motion to dismiss); See also Corsi v. Newsmax Media, Inc., 519 F. Supp. 3d 1110,
  1123 (S.D. Fla. 2021)(dismissing complaint for failure to plausibly plead actual malice).
      B. Plaintiff’s Interpretation of FS 836.13 Violates the First and Fourteenth
         Amendment and Runs Afoul of the Plain Text of the Statute

          No matter how the Plaintiff wishes to spin the facts, the reality is such that Count II is
  buttressed on these mere facts: 1) the liking of a third party online post containing an alleged deep
  fake video; 2) speaking about the deep fake video in a livestream and intimating that the video is
  likely a deep fake; and 3) posting “Go to my likes” so that others can see what she is discussing in
  the livestream. This does not fall within the narrow definition of “promote” under Florida Statute
  § 836.13. Plaintiff also misstates the record where she states that the Defendant shared the video
  on her profile. She did not. She simply pressed the like button on a third party’s post. She did not
  repost it. Notably, Plaintiff ignores the caselaw cited by Defendant which states that in Florida,
  statutes like these must be narrowly construed in favor of Defendant and against the Plaintiff. The
  silence is deafening. Clearly, to interpret the statute as broadly as Plaintiff suggests would violate
  the First Amendment as an overbroad content-based restriction. See generally U.S. v. Alvarez, 567
  U.S. 709 (2012)(holding that the stolen valor act is unconstitutional under the First Amendment).
  As noted in the Florida Senate’s Bill Analysis and Fiscal Impact Statement to Bill SB 1798 (March
  2, 2022),5 it states:
          Currently, no states completely ban the creation or distribution of all deep fakes. A
          complete ban of such images would likely run afoul of constitutional protections
          under the First Amendment. However, certain categories of speech, including
          defamation, fraud, true threats, and the imminent-and likely incitement of violence,
          do not receive protections under the First Amendment. Some deep fakes will likely
          fall into one of those categories and therefore may be regulated

  Id. p. 3. In light of the above commentary coupled with the statute’s narrow definition of
  “promote,” it is clear that the conduct the statute was intended to cover does not cover the
  allegations in the FAC. Furthermore, the allegations in the FAC also fail to tell the whole story as
  demonstrated by her cherry-picking portions of the Defendant’s online posts. Accordingly, to

  5 https://www.flsenate.gov/Session/Bill/2022/1798/Analyses/2022s01798.ap.PDF

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  assist the Court, the Defendant has filed as a supplement to the Appendix, transcripts of her
  livestreams which show the full context of what she said on June 8, 2024. App. A-7 – A-11. All
  the Defendant did was report on something that was sent to her while she was livestreaming. There
  are no allegations in the FAC that the Defendant’s conduct in discussing the video, hitting the like
  button on someone’s post, or posting “go to my likes” would fall into the categories of
  “defamation, fraud, true threats, and the imminent-and likely incitement of violence.” In this day
  and age when celebrities and influencers themselves release sex videos for publicity, the Defendant
  reviewed it and concluded it was in all likelihood a fake and suggested Ms. Pete sue the perpetrator.
  She did not “promote” it within the meaning of the statute; the one who did was the individual
  who created it. Once again, the Plaintiff is looking to criminalize protected speech under the First
  Amendment to censor the Defendant. At worst the matter is moot as the posts were taken down.
  Thus, Count II of the FAC should be dismissed with prejudice as any amendment would be futile.
      C. Plaintiff Has Cited no Authority to Plausibly Support her Claim for IIED
         Plaintiff’s opposition papers suggest that claims for intentional infliction of emotional
  distress (“IIED”), cannot be determined at the motion to dismiss stage. This suggestion is without
  merit and ignores the panoply of cases cited in Defendant’s motion to dismiss. Further, her reliance
  on Albert v. Nat’l Cash Reg. Co., 874 F. Supp. 1328, 1331 (S.D. Fla. 1994) is of no help to her as
  it relies on the pre-Twombly/Iqbal standard of review and does not take into consideration binding
  caselaw in this district. See e.g. Valdes v. Gab Robins N. Am., Inc., 924 So.2d 862, 866 (Fla. 3d DCA
  2006)(affirming dismissal of IIED claim at the motion to dismiss stage).6 Furthermore, Plaintiff
  completely ignores all of the decisions cited by Defendant which show that there can be no IIED
  claim in the absence of serious violent actions, sexual assault, or death and that claims for IIED
  are routinely dismissed in Florida at the motion to dismiss stage. Id.; See also Rubio v. Lopez, 445
  F. App’x 170 (11th Cir. 2011); Blair v. NCL (Bahamas) Ltd., 212 F. Supp. 3d 1264 (S.D. Fla. 2016);
  Vernon v. Med. Management Associates of Margate, Inc., 912 F.Supp. 1549 (S.D.Fla. 1996);
  Howry v. Nisus, Inc., 910 F.Supp. 576, 580–81 (M.D.Fla.1995). Further undermining her position is
  Plaintiff’s reliance on Est. of Duckett ex rel. Calvert v. Cable News Network LLLP, 2008 WL



  6 As the Eleventh Circuit held in Bravo v. U.S., 532 F.3d 1154 (11th Cir. 2008), … federal courts
  are “bound to decide the issue the way the Florida courts would have [and must] look to the
  decisions of the Florida appellate court that would have had jurisdiction over an appeal in this case
  had it been filed in state court.” Id. at 1164. Hence, the decisions of Florida’s Third District Court
  of Appeals take precedence in this matter.
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  2959753 (M.D. Fla. July 31, 2008) which involved a wrongful death case and relies on one aspect
  of Florida law that is not applicable here:
          As it stands, Florida courts have shown “a particular solicitude for the emotional
          vulnerability of survivors regarding improper behavior toward the dead body of a
          loved one, [as well as] special deference ... to family feelings where rights involving
          dead bodies are concerned....”

  Id. citing Williams v. City of Minneola, 575 So.2d 683, 691 (Fla. 5th DCA 1991)(denying summary
  judgment where police officers displayed “grotesque” pictures of a family member’s dead body).
  Likewise, the court’s decision in Gallogly v. Rodriguez, 970 So. 2d 470, 472 (Fla. 2d DCA 2007)
  provides Ms. Pete no refuge as this case dealt with egregious police misconduct where there were
  allegations of a police officer engaging in heinous acts of extortion against the plaintiff by
  “conducted a continuing campaign of harassment by running a drug and prostitution ring out of
  [the plaintiff’s] bottle club and refusing to investigate illegal activities inside or associated with
  the bottle club while harassing [plaintiff] and his employees to ensure their silence.” In fact, the
  district court in Gomez v. United States, 2013 WL 11322607, at *1 (S.D. Fla. Dec. 3, 2013) in
  distinguishing Gallogly granted a motion to dismiss an IIED claim where the allegations were
  more egregious than the mere name calling alleged here. In Gomez, the plaintiff alleged that
  Customs and Border Protection officers “confronted Plaintiff’s mother and yelled obscenities at
  her,” then grabbed the plaintiff “by the neck, choked him, and slammed him against a vehicle,”
  and then after inquiring as to the plaintiff’s immigration status, “searched and handcuffed
  [plaintiff]” and told him that he “would be raped by black men while he was in the jail.” Clearly,
  these allegations are more severe than what is alleged here and despite that there were actual
  physical touchings in Gomez, Judge Moore held that the use of force was “de minimis” and that
  the rape remark, “while distasteful, was not repeated on multiple occasions, was not a direct threat”
  and therefore failed to state a plausible claim for IIED thereby dismissing the count with prejudice.
  Id. at p. *6. Notably, Plaintiff has not and cannot point to any case supporting her claim for IIED.
  Accordingly, Count III of the FAC should be dismissed with prejudice as once again any
  amendment at this point would be futile.
      D. Count IV Fails to Plausibly State a Claim for Cyberstalking
          Despite the Plaintiff’s spin to suggest that she states a claim for cyberstalking, what she
  really is seeking is an injunction to censor the Defendant from uttering statements she disagrees
  with. Notably, her response fails to address the authorities cited by Defendant which unequivocally
  hold that, in Florida, injunctions are not available to stop someone from uttering insults or falsehoods
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  or for that matter, misinformation. See, e.g., Scott v. Blum, 191 So.3d 502, 504 (Fla. 2d DCA 2016);
  Concerned Citizens for Judicial Fairness, Inc. v. Yacucci, 162 So. 3d 68, 72 (Fla. 4th DCA 2014);
  Vrasic v. Leibel, 106 So. 3d 485, 486 (Fla. 4th DCA 2013) (holding that an injunction remedy is not
  available to prohibit defamatory or libelous statements). Further, Plaintiff’s reliance on Strober v.
  Harris, 332 So. 3d 1079, 1087 (Fla. 2d DCA 2022) is unavailing. First, that decision does not
  involve a public figure. Secondly, the allegations in this matter once again pale in comparison to
  those in Strober where it was alleged that the defendant had directly issued threats against the
  plaintiff and incited threats from her viewers, falsely accused the plaintiff of child abuse,
  announced her home address online to his viewers, and published a photograph of her minor
  daughter. Id. Some of the threats included “outright death threats, … (1) pictures of mutilated and
  dismembered human bodies, (2) a picture of a young Black woman in a casket, (3) photographs
  edited to show [plaintiff] hanging from a tree, (4) the home addresses of [plaintiff] and other
  members of her family, and (5) a picture of a location near [plaintiff’s] home with the message
  ‘see you soon.’” Id. at 1081. Moreover, the court did not hold that the allegations stated a claim
  under the statute, rather, the case was reversed because the state court failed to apply the full
  statutory definition of cyberstalk in its decision and held that there was no personal jurisdiction
  over the claim. Id. The court thus reversed and remanded so that the trial court could reconsider
  the evidence under the correct statutory standard. Id. at 1987. Again, in the case sub judice, there
  are no allegations here of any death threats, or threats of violence or are there any allegations that
  the Defendant incited such threats from her viewers or listeners. Again, it is perverse that the
  Plaintiff would waste the resources of this federal court in seeking an injunction to censor Defendant
  because she allegedly called Plaintiff a “lying ass hoe,” “like legally retarded,” or a “drunkie.” (DE
  33, p. 20). The First Amendment prohibits such restraints through the use of injunctive relief.
  Chevaldina v. R.K./FL Mgmt., Inc., 133 So. 3d 1086, 1090 (Fla. 3d DCA 2014). Accordingly, should
  the Court invoke supplemental jurisdiction over Count IV, it should dismiss the claim with prejudice
  for its failure to plausibly state a claim under § 784.0485, Fla. Stat.
          Finally, in her opposition papers, Plaintiff suggests that this Court has no discretion under
  28 U.S.C. § 1367(c)(4) to decline jurisdiction over the Cyberstalking claim. Again, Plaintiff is
  wrong. It is clear that Count IV, which seeks purely injunctive relief under a Florida statute, is
  brought pursuant to Section 1367 given that it is not a claim for monetary damages. Diversity
  jurisdiction exists in this matter solely on her allegations that her damages under her state tort
  claims exceed $75,000.00. (DE 28, ¶ 13). In fact, the FAC itself invokes this Court’s supplemental

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  jurisdiction under section 1367. Id. Accordingly, this flies in the face of her argument that
  “Defendant’s presumption that the claim is brought pursuant to the Court’s supplemental
  jurisdiction and that it has discretion to dismiss is wrong.” (DE 33, p. 19). Again, the reality is that
  Count IV can only be brought in this Court pursuant to 28 U.S.C. § 1367 and as such, this Court
  has the discretion to decline supplemental jurisdiction based on the well-reasoned opinions by
  Judge Wetherell in Kassenoff v. Harvey, Case No. 23-cv-24085, DE 35 slip op. at pp. 3-4 (ND Fla.
  Apr. 4, 2024).
      E. Plaintiff’s improper Request for Attorney’s Fees in Counts I, III, and IV.
          Plaintiff’s response does not dispute that she has no legal basis for attorney’s fees in Counts
  I, III, and IV. She merely argues that it is premature to dismiss and/or strike these claims. However,
  the Court need not wait until Plaintiff files a motion for attorney’s fees to rule on the instant motion
  seeking to strike the fee references asserted in Counts I, III, and IV because Plaintiff has already
  conceded there is no statutory or contractual basis for awarding fees under those counts. See Euro
  RSCG Direct Response, LLC v. Green Bullion Fin. Servs., 872 F. Supp. 2d 1353, 1364 (S.D. Fla.
  2012) (“The Court will grant the motion to strike because [the] [p]laintiff has conceded that it is
  without a contractual or statutory basis for attorneys’ fees.”); Hodge v. Orlando Util. Com., 2009
  WL 4042930 M.D. Fla. 2009), at *4 (“[A] prayer for relief not available under the applicable law
  is properly subject to a motion to strike.”)(citing 2 Moore’s Federal Practice ¶ 12.37[3] (3d ed.
  2009)); Atkinson v. Wal-Mart Stores, Inc., No. 808-CV-691-T-30TBM, 2008 WL 2261784, at *1
  (M.D. Fla. May 30, 2008)(granting motion to strike attorney’s fees as the plaintiffs failed to allege
  or cite any applicable statute or contract provision allowing for the recovery of attorney’s fees
  under the claims alleged in the complaint).
                                            CONCLUSION
          This case is emblematic of how rich celebrities are using the courts and their financial
  means these days to silence their critics by bringing forward spurious claims against those who
  generally do not have the resources to defend these cases with the hope and intent that their critics
  will cave, be defaulted, or go bankrupt. Plaintiff takes this weaponization of the court system a
  step further by bringing a federal action for such nonsensical things such as schoolyard name-
  calling and for critical opinions and commentary by Defendant describing the Plaintiff’s conduct
  which the Plaintiff has herself admitted to in her song lyrics, in trial testimony, and in her recently
  publicized documentary. This is why defamation cases like this should be decided at the motion
  to dismiss stage as “there is a powerful interest in ensuring that free speech is not unduly burdened

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   by the necessity of defending against expensive yet groundless litigation.” Michel v. NYP
   Holdings, Inc., 816 F.3d 686, 702-03 (11th Cir. 2016). Plaintiff further suggests that the Defendant
   should be censored and penalized because she is allegedly publishing rumors and misinformation.
   Even if this were correct, this does not obviate the protections the First Amendment provides the
   Defendant as even misinformation is protected under the First Amendment. See Susan B. Anthony
   List v. Driehaus, 814 F.3d 466 (6th Cir. 2016)(striking down Ohio law prohibiting reckless false
   statements about candidates in campaign materials, emphasizing that the law too broadly swept in
   non-material statements and intermediaries who merely transmitted others’ statements); See also
   Matal v. Tam, 582 U.S. 218 (2017)(hate speech protected under the First Amendment); Street v.
   New York, 394 U. S. 576, 592 (1969)(holding that “the public expression of ideas may not be
   prohibited merely because the ideas are themselves offensive to some of their hearers”). As noted
   by Justice Kennedy in Alvarez, “[t]he Nation well knows that one of the costs of the First
   Amendment is that it protects the speech we detest as well as the speech we embrace. Though few
   might find respondent’s statements anything but contemptible, his right to make those statements
   is protected by the Constitution’s guarantee of freedom of speech and expression.” Id. at 729-30.
          Finally, Plaintiff’s suggestion that a guilty verdict in a criminal case precludes those like
   Defendant from criticizing witness credibility, prosecutorial conduct, trial evidence, and how the
   case was handled is chilling. There are no safe spaces in the real world especially for artists who
   are public figures as this is the business they have chosen. As Justice Brandeis noted nearly one
   hundred years ago, “[i]f there be time to expose through discussion the falsehood and fallacies, to
   avert the evil by the processes of education, the remedy to be applied is more speech, not enforced
   silence.” Whitney v. California, 274 US 357, 377 (1927)(Brandeis, J. Concurring). Perhaps
   Plaintiff, who is a new resident to the State of Florida, should read about Florida’s dark history
   where the Groveland Four were convicted based on patently false and coerced testimony and racial
   bias. Just because a jury convicts a defendant does not mean that the state’s case was and should
   be deemed the gospel and that those speaking out against the conviction should be condemned as
   heretics. If this were the case, then why have appellate courts?
          Accordingly, based on the foregoing and on the grounds set forth in the Motion to Dismiss,
   Defendant respectfully requests that Plaintiff’s First Amended Complaint be DISMISSED.
   Alternatively, if this Court deems it appropriate, Defendant respectfully requests pursuant to Rule
   12(d), Fed.R.Civ.P, that this Court convert this motion into a motion for summary judgment.



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                                        Respectfully submitted,

          PANCIER LAW                                   UNITE THE PEOPLE, INC.

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                                   CERTIFICATE OF SERVICE

          I hereby certify that on January 17, 2025, I electronically filed the foregoing document

   with the Clerk of the Court using CM/ECF. I also certify that the foregoing is being served this

   day on all counsel of record in the manner specified, either via transmission of Notices of

   Electronic Filing generated by CM/ECF or in some other authorized manner for those counsel who

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                                         By: /s/ Michael Pancier
                                            Michael Pancier
                                            Fla Bar No. 958484
